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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  MAXWELL ROUX, JOHN DUFF III, HENRY
  SMITH, and BRUNO NISPEL,                                 Case No. 23-1056-GBW


          Plaintiffs,


                  v.


  KRISHNA OKHANDIAR (a/k/a Rohit
  Okhandiar, Charlotte Fang, Charlie Fang,
  Wonyoung Jang, Miya, Xinma33, MissJo, and
  Sonya); REMILIA CORPORATION LLC, a
  Delaware limited liability company; REMILIA
  INDUSTRIES LLC, a Delaware limited liability
  company,


          Defendants.



           STIPULATION AND [PROPOSED] ORDER RE FILING AND
      EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
       Plaintiffs Maxwell Roux, John Duff III, Henry Smith, and Bruno Nispel (“Plaintiffs”) and

Defendants Krishna Okhandiar, Remilia Corporation LLC, and Remilia Industries LLC

(“Defendants,” and collectively with Plaintiffs, the “Parties”), by and through their respective

counsel, hereby stipulate and agree, subject to Order of the Court, as follows:

       WHEREAS, Plaintiffs intend to file an shall file a First Amended Complaint pursuant to

Fed. R. Civ. P. 15(a)(1).

       WHEREAS, Defendants have agreed to accept service of the Summons and First Amended

Complaint and will not object to the sufficiency of service of process.

       WHEREAS, in exchange for Defendants’ acceptance of service of the Summons and First
Amended Complaint, and further based on their voluntary dismissal without prejudice of the


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transferred action from the United Stated District Court for the District of Nevada, Okhandiar, et

al. v. Smith, et al., Case No. 1:24-cv-00193 pursuant to Fed. R. Civ. P. 41(a)(1)(A), Defendants

have requested an extension through and including April 12, 2024, to answer, move, or otherwise

respond to the First Amended Complaint.

        NOW, THEREFORE, the Parties stipulate and jointly request that the Court order:

        1.     Plaintiffs shall file and serve the First Amended Complaint through the CM/ECF

system upon undersigned counsel for the Defendants no later than March 8, 2024;

        2.     Defendants shall be deemed to have been served with the Summons and First

Amended Complaint on the date filed and served; and

        3.     Defendants shall answer, move, or otherwise respond to the First Amended

Complaint no later than April 12, 2024.



Dated: March 1, 2024


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-and-                                               -and-

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                                             KRISHNA OKHANDIAR (a/k/a Rohit
                                             Okhandiar, Charlotte Fang, Charlie Fang,
                                             Wonyoung Jang, Miya, Xinma33, MissJo,
                                             and Sonya); REMILIA CORPORATION
                                             LLC; and REMILIA INDUSTRIES LLC


                       ORDER GRANTING STIPULATION


IT IS SO ORDERED.

Dated: _______________________________

                                         __________________________________
                                         Honorable Gregory B. Williams
                                         UNITED STATES DISTRICT JUDGE




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